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                                                                                           FILED US District Court-UT
Mikel Ray Brown                                                                             JUL 15 '22 PM04: 12
2942 Foss Circle
Bountiful, UT 84010
Email: mikebrown@reagan.com
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          IN THE UNITED STATES DISTRICT
                                                 COURT
                         FOR THE DISTRICT OF UTAH



 MIKEL KAY BROWN,
                                                                VERIFIED COMPLAINT
      Plaintiff,                                                 AND PETITION FOR
        v.
                                                              DECLARATORY JUDGEMENT

 DARRELL GRIGGS,
 SETH DALTON, GREG HOLLEY,
 WADE BREUK, ROGER DANIELS,
                                                                 Case: 1:22-cv-00091
 ERNEST PETERSON, and                                            Assigned To: Romero, Cecilia M.
 UTAH HIGHWAY PATROL, a Corporation,                             Assign. Date: 7/15/2022
                                                                 Description: Brown v Dalton et al
      Defendants.




 VERIFIED COMPLAINT AND PETfflON FOR DECLARATORY JUDGEMENT


        NOW COMES Plaintiff, MIKEL RAY BROWN, hereinafter referred to as "Brown" or "Plaintiff,"

in this court of record, being one of the sovereign people of Utah neither in the capacity as a citizen of the

STATE OF UTAH nor as a citizen of the United States, to freely exercise his right to a trial by jury in a

suit at common law guaranteed to him by the seventh amendment to the United States Constitution.

Plaintiff will show that he was subjected to deprivation of rights under the color of state law secured by

the United States Constitution and Utah Constitution. Plaintiff will show that said deprivation of

constitutionally secured rights amounted to predicate acts, practiced and participated in, by all Defendants
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who are public servants, who violated their sacred oaths of office, and who exceeded their scope and

authority granted to them by We The People. This action is brought pursuant to 42 U.S.C. § 1983 to

redress the deprivation under color of law of Plaintiff's rights as secured by the United States

Constitution.



                                                   PARTIES


L The Plaintiff, MIKEL RAY BROWN, (Herein after Plaintiff) is a Private Citizen of Utah" state" and

     owns a piece of land situated withi~ but outside. the limits and jurisdiction of THE STATE OF

     UTAH, and can sue or be sued.

2. The Defendant, DARRELL GRIGGS in his private and official capacity, (Herein after Defendant or

     Defendants collectively) is a citizen of the State of Ut~ and can sue and be sued.

3. The Defendant, SETH DALTON in his private and official capacity, (Herein after Defendant or

     Defendants collectively) is a citizen of the State of Utah, and can sue and be sued.

4.   The Defendant, GREG HOLLEY in his private and official capacity, (Herein after Defendant or

     Defendants collectively) is a citizen of the State of Utah, and can sue and be sued.

5. The Defendant, WADE BREUR in his private and official capacity, (Herein after Defendant or

     Defendants collectively) is a citizen of the State of Utah, and can sue and be sued.

6. The Defendant, ROGER DANIELS in his private and official capacity, (Herein after Defendant or

     Defendants collectively) is a citizen of the State of Utah, and can sue and be sued.

7. The Defendant, ERNEST PETERSON in his private and official capacity, (Herein afrer Defendant or

     Defendants collectively) is a citizen of the State of Utah, and can sue and be sued.

8. The Defendant, UTAH HIGHWAY PATROL and other interested Parties (Herein afrer Defendant or

     Defendants collectively) is a political subdivision of the "State" of Utah, and can sue and he sued.


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9. On information and belief, all Defendants are, or were at the time of the events complained of herein,

   employed by the UTAH HIGHWAY PATROL as State Troopers, or acting under the authority and

   orders of the UTAH HIGHWAY PATROL.

10. The UTAH IIlGHWA Y PATROL is a political subdivision of the "State" of Utah within the District

   of Utah.

11. At all times :material to this Complaint, the Defendants were acting under color of state law.

   ordinance, and/or regulation, statutes, custom, and usage of the UTAH HIGHWAY PATROL.



                                                      VENUE


12. On information and belief, all parties are either reside in, or are a political subdivision of, the District

    of Utah, State of Utah, and the events giving rise to the claims asserted herein occurred within said

    district, therefore, venue is proper.

                                               JURISDICTION


13. This Court has subject matter jurisdiction over this case pursuant to title 28 U.S.C. § 1331, as this

    action arises under violations of the First, Fourth, Fifth, and Fourteenth Amendments to the United

    States Constitution by named Defendants; under title 28 U.S.C. § 1343(a)(3), in that it is brought to

    prevent imminent deprivations, under color of state law, of rights, privileges, and immunities secured

    by the United States Constitution; under title 28 U.S.C. § 1343(a)(4), in that it seeks to recover

    damages and secure equitable relief under an Act of Congress, specifically, title 42 U.S.C. § 1983,

    which provides a cause of action for the protection of civil and constitutionally secured rights; under

    title 28 U.S.C. § 2201 and 2202, to secure preliminary and injunctive relief from imminent

    deprivations of Plaintiff's right in property.



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14. Plaintiff is NOT a member of the B.A.R. Association and is proceeding prose in this action.

   Furthermore. the courts have held that action that is brought by sovereign individuals, is not to be held

   to the same high standards as action brought by licensed attorneys. All that is required is that the

   pleading be in a format that"any reaso-nable person could understand'' which this pleading conforms

   to.



                                         FACTS OF THE CASE


15. Exhibit-I (Citizen's Verified Criminal Complaint & City's Motion to Dismiss) is included by

   reference as though fully stated herein.

16. Plaintiff is one of the people of the State of Utah. As such, he is guaranteed certain unalienable rights

   which are guaranteed to him by the United States Constitution and the Utah Constitution. At all times

   during the course of this action. these rights were in place for the enjoyment of the Plaintiff as all are

   equal under the law and under the eyes of God.

17. On or about March 1st, 2022, Plaintiff attends a public meeting within the Utah State Capitol

   Complex debating the proposed (at the time) legislation on HB60. Plaintiff reasonably expects to be

   able to access this place of public accommodation unmolested as this meeting is open to the public.

18. Upon arriving, Plaintiff, along with everyone else attending as the public, is given a sticker from an

   unknown women in the audience that read •~ote Yes, HB60". Plaintiff receives two stickers, and

    places one on his hat, the other on his shirt and takes a seat to listen to the debate.

19. At about this time, Defendant DARRELL GRIGGS approaches Plaintiff and informs him that he will

    need to remove the stickers. Plaintiff inquires as to why as he has been to numerous other debate

   meetings and been allowed to wear similar stickers.

20. Defendant GRIGGS replies that it is a role to which Plaintiff replies that he has not heard of that role

   before.

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21. On or about this time, Plaintiff approaches Defendant WADE BRE~ a Lieutenant with the Utah

   Highway PatroL who was in attendance as security for the Utah State Capitol

22. Plaintiff asks Defendant BREUR what the rule was in regards to the stickers and his reply was

   something to the effect of ''Whatever the senate chair says has the same effect as law."

23. Notwithstanding this information, Plaintiff is allowed to keep the stickers on and retakes his seat.

24. At about this time, Plaintiff notices several of the Defendants, including Defendant GRIGGS,

   speaking with the chair of the senate committee, presumably about the stickers that said "Vote Yes,

   HB60.".

25. The chair of the committee then opens the meeting.

26. Right as the :meeting began, the chairman indicated that they were going to review some of the rules

    of the meeting and that they also have rules specific to their committee :meetings.

27. Plaintiff is not a member of the Utah State Senate nor is employed by anyone within this organi7.ation

    and is under no obligation or duty to follow "their committee rules" or "public comment meeting

    rules" as a private citizen.

28. At some point, the chair announces that he was not going to allow political signs or stickers and

    informs the audience to remove the political stickers.

29. On or about this time, the chair states that be fe]t that there were some within attendance that were not

    following his order to remove the stickers. He then places the :meeting in a 5 minute recess to allow

    the audience time to comply. He then struck the gavel.

30. As soon as the gavel was struck, Defendant GRIGGS, who was directly behind Plaintiff, srud "please

    remove the stickers." Plaintiff then says, "Ok, do you want the sticker?" Plaintiff then hands

    Defendant GRIGGS one of the stickers, and removes the other and places it under his leg, not visible

    to anyone else.




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31. Nevertheless, Defendant GRIGGS is not satisfied with this and demands that Plaintiff give him the

   other sticker that is no longer visible. Plaintiff replies that he would like to keep it and that he

   complied with the chairs' request to remove the stickers from view.

32. Defendant GRIGGS then says that he still wants the non-visible sticker nonetheless.

33. At about this time, Plaintiff removes his cell phone from his pocket and begins recording the events. It

   should be noted that there are others in attendance that do the same.

34. There is another man in the audience who then questions Defendant GRIGGS about his pin on his

   lapel which appeared to be the Ukrainian flag and asks, "that's political, isn't it?"

35. Plaintiff agreed with this man and said. "yeah, isn't that a political statement?"

36. At this time, Defendant GRIGGS then motions for the other Defendants from the UTAH IDGHWAY

   PATROL to come over.

37. These Defendants then ask those sitting on either side of Plaintiff to move out of the way, and 2,

    unknown at the time, Defendants approach from Plaintiff's right and then Defendant GREG HOLLEY

    on Plaintiff's left

38. Defendant HOLLEY then says to Plaintiff, "I want you to come with me."

39. Plaintiff replies that he complied with the chair's order and removed the stickers.

40. Notwithstanding this information. Defendant HOLLEY continues to say that Plaintiff needs to come

    with him or Plaintiff would be arrested. Plaintiff continues to say that he complied with the order and

    removed the stickers and that the meeting is in recess.

41. Defendant HOLLEY, and the two other unknown at the time Troopers, are presumed to be armed with

    deadly weapons and continue to tell Plaintiff that he must come with them.

42. At or about this time, Defendant HOLLEY physically grabs Plaintiff by the right arm, and he and the

    other two Defendants physically dragged Plaintiff forcefully to the side of the room.




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43. Due to the stress from this physical contact, and the amount of duress of the situation. Plaintiff

   immediately bas a panic attack and goes limp. Defendant Troopers then forcefully place handcuffs on

   Plaintiff.

44. The aforementioned conduct was wholly unnecessary and unreasonable, as Plaintiff was not

   threatening, resisting, or otherwise failing to comply with the other Defendants 'orders at this point or

    at any point during the encounter.

45. Defendant Troopers then continue to drag Plaintiff physically into the hallway and drop him on the

    ground.

46. Due to the panic attack and traumatic stress of the event, Plaintiff called out for help from anyone.

47. At about this time the Defendants decided to pick the Plaintiff up by all fours and carried him down a

    flight of stairs, up another flight of stairs to an elevator.

48. Plaintiff struck the ground causing injuries to his legs, knees, and arms and elbows.

49. The entire time this is happening, Plaintiff is asking for he]p from anyone standing by. No one comes

    to help.

50. The Defendants take the Plaintiff into the elevator, down to the basement level of the Capitol building.
                                                                                              \




    and then continued to pull the Plaintiff via all fours into a room, and set him on a chair.

51. Around this time, a friend of the Plaintiff who was attending the same meeting sent Plaintiff a text

    message and said that there was a lawyer with her that wanted to speak with Plaintiff.

52. Plaintiff told the Defendant Troopers that he wanted to speak with his lawyer.

53. Defendant Troopers denied the Plaintiff's request and would not let him speak with his lawyer.

54. During this entire time Plaintiff was in the basement, he was still handcuffed and could overhear the

    Defendant Troopers discussing what to charge the Plaintiff with.

55. One of the Defendant Troopers asked, "Was it the shirt? Was it the sticker?" (Plaintiff was wearing a

    shirt that said We The People)


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56. Defendant Troopers appeared to not know what crime Plaintiff bad committed, but detained him

   nonetheless still.

57. Plaintiff then asks Defendant Troopers, "Are you going to read me my rights?"

58. Defendant Troopers finally read Plaintiff his rights.

59. At one point after this, Plaintiff can hear Defendant Troopers joking about how Plaintiff was flopping

   around like a ftsh and seemed to be having fun at the expense and humiliation of Plaintiff.

60. It was at this time Plaintiff informs Defendant Troopers that the reason he was acting that way was

   because he was having a panic attack.

61. Defendant Troopers finally acknowledge Plaintiffs health and call for medical to come and check his

    vitals.

62. After nearly an hour detained in handcuffs in the basement, Defendant Troopers walked Plaintiff

    through the parking garage up through the stairway and out the front side door.

63. Defendant Troopers then remove the handcuffs and issue Plaintiff a citation for disrupting a meeting,

    Utah Criminal Code 76-9-103.

64. After some time, Plaintiff receives from the Prosecuting Attorney a Motion to Dismiss this case as in

    their words, " ... ... In this instance, with the available evidence(video), and the apparent confusion

    regarding what was and was not permitted speech and expected comportment in a public hearing, the

    prosecution has reached the conclusion that this matter does not meet the criminal standard ofproof

    beyond a reasonable doubt .... "

65. Plaintiff's case is then dismissed without prejudice.



              FmST CAUSE OF ACTION: DECLARATORY JUDGEMENT
                                      AND FEDERAL QUESTION


66. Plaintiff adopts and re-alleges paragraphs 1 through 65 of this complaint as though fully stated herein.

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67. The Defendants did enforce a mandate/rule under the color of law that has not been properly enacted

   by the State of Utah legislature to enforce upon and extinguish the rights of the Plaintiff. to the bitter

   end of forcing Plaintiff into involuntary servitude. '!'re mandate enforced by the Defendants has not

   been enacted by the State of Utah according to the provisions of Article 6, section 26 of the Utah

   Constitution.

68. The Defendants, DARRELL GRIGGS, SETH DALTON, GREG HOILEY, WADE BRE~

   ROGER DANIELS, and ERNEST PETERSON, on or about March 1st, 2022 did trespass upon

    Plaintiffs rights, without due process of law, without probable cause and without a proper warrant, to

    deprive the Plaintiff of his constitutionally secured rights and in violation of title 18 § U .S.C. 241 and

    242 as well as Utah Code Ann§ 76-8-201 .

69. To make a civil infraction out of the use of, and the right to, access public accommodations and

    peaceably assemble, is an arbitrary and capricious abuse of legislative discretion, without due process

    of law, such conduct is a direct assault on the Plaintiffs rights without consideration and in disregard

    of the facts.

70. On or about March 1st, 2022 the Defendants did deny rights clearly belonging to Plaintiff, under the

    guise of enactment of state laws and federal laws, among others, without just compensation.

71. pt Federal Question: When in the course of the business affairs of the Defendants, coming against

    the rights belonging to Plaintiff, are the Defendants subject to uphold Plaintiffs' constitutionally

    guaranteed rights? Plaintiff contends yes, but Defendants did not.

72. Therefore, the Plaintiff is entitled to injunctive relief against Defendants, to enjoin the Defendants

    from enforcing un-constitutional 'mandates' against Plaintiff.

73. 2nd Federal Question: Must laws enacted by the State of Utah and adopted by the Defendants, be in

    compliance with Article VI section 26 of the Utah Constitution? Plaintiff contends yes, but said laws

    have not been properly enacted by the state for the Defendants to adopt.


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74. Therefore, the Plaintiff is entitled to injunctive relief against Defendants, to enjoin the Defendants

   from enforcing un-constitutional laws against Plaintiff.

75. 3n1 Federal Question: Must the Defendants comply with Federal law, Utah law, the United States

    Constitution, and the Constitution of the State of Utah? The Plaintiff contends yes, but Defendants did

    not.

76. Therefore, the Plaintiff is entitled to injunctive relief against Defendants, to enjoin the Defendants

    from enforcing un-constitutional, unlawful actions against Plaintiff.

                           Wherefore, Plaintiff requests judgment against Defendants.

             SECOND CAUSE OF ACTION: 42 USC§ 1983 FALSE ARREST

77. Plaintiff adopts and re-alleges paragraphs 1 through 76 of this complaint as though fully stated herein.~
78. As described in the preceding paragraphs, the Defendants
    unlawfully detained and falsely arrested Plaintiff without legal justification or probable cause.
79. Defendants knew that Plaintiff had not committed any crimes and still continued to effectuate the
    arrest, detention, and prosecution of Plaintiff for the charge.
80. The misconduct described in this Count was undertaken with malice, willfulness, and reckless
    indifference to the rights of Plaintiff.
81. The misconduct described in this Count was objectively unreasonable and was undertaken
    intentionally with willful indifference to Plaintiffs constitutional rights, specifically the Frrst, Fourth,

    Frfth, and Fourteenth Amendments to the United States Constitution, and hence 42 U.S.C. § 1983.

82. As a result of the unjustified violation of Plaintiffs rights by the Defendants, Plaintiff has
    suffered injury, including emotional distress.


           THIRD CAUSE OF ACTION: 42 USC§ 1983 EXCESSIVE FORCE

83. Plaintiff adopts and re-alleges paragraphs 1 through 82 of this complaint as though fully stated herein.
84. As a result of the Defendant Officers 'unjustified and excessive use of force, Plaintiff suffered pain
    and injury, as well as emotional distress.
85. This conduct violated the Fourth and Fourteenth Amendments to the United States Constitution, and
    hence 42 U.S.C. § 1983.

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86. The misconduct described in this Count was objectively unreasonable and was undertaken
   intentionally with malice, willfulness, and reckless indifference to Plaintiffs constitutional rights.
87. The aforementioned actions of the Defendants were the direct and proximate cause of the
   constitutional violations, and the attendant injuries resulting therefrom, as set forth above.
88. As a result of the Defendant Officers 'unjnstified and excessive use of force Plaintiff has, as a direct
   and proximate cause, suffered pain and injury. including emotional distress.


                          FOURTH CAUSE OF ACTION: 42 USC§ 1983
                                       FALSE IMPRISONMENT

89. Plaintiff adopts and re--alleges paragraphs l through 88 of this complaint as though fully stated herein.
90. Plaintiff was imprisoned by the Defendant Officers, and thereby had his
    hberty to move about unlawfully restrained, despite the Defendants 'knowledge that there was no
    probable cause for doing so.
91. The actions of the Defendants were undertaken intentionally, with malice and reckless indifference to
    Plaintiffs rights.

92. As a result of the wrongful infringement of Plaintiffs rights, Plaintiff has, as a direct and proximate
    cause, suffered injury, including emotional distress.
93. As described above, the Defendants' conduct was undertaken within the scope of their
    employment such that their employer, UTAH HIGHWAY PATROL is liable for their actions.


                           FIFTH CAUSE OF ACTION: 42 USC § 1983
           CONSPIRACY TO COMMIT CONSTITUTIONAL VIOLATIONS

94. Plaintiff adopts and re-alleges paragraphs l through 93 of this complaint as though fully stated herein.
95. As discussed in greater detail above, the Defendants conspired with each other to cause damage to the
    Plaintiff by:
        1. Agreeing not to report each other after witnessing and/or using excessive force relative to the
            Pb.inti.ff;
        2. Agreeing not to generate reports documenting their conduct to cover-up their own and each
            other's misconduct;


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        3. Agreeing to generate reports and other documents which omitted material facts relating to the
              arrest and containing patent falsities.
96. The aforementioned actions of the Defendant Officers were the direct and proximate cause of the
   violations of the United States Constitution discussed above, and the attendant injury and emotional
   distress resulting therefrom.


                            SIXffl CAUSE OF ACTION: 42 USC § 198,3
                                        FAILURE TO INTERVENE

97. Plaintiff adopts and re-alleges paragraphs 1 through 96 of this complaint as though fully stated herein.
98. As described more fully above, one or more of the Defendants had a
   reasonable opportunity to prevent the violations of Plaintiffs constitutional rights as set forth above.
99. As a result of the Defendants' failure to intervene. Plaintiff suffered pain and injury. as well as
    emotional distress..
100.     The Defendants 'actions were undertaken intentionally with malice and reckless indifference to

    Plaintiffs rights.
101.    The misconduct described in this Count was undertaken by the Defendants within the scope of
    their employment and under color of law.


                          SEVENTH CAUSE OF ACTION: 42 USC § 198,3
                                      MALICIOUS PROSECUTION

102.    Plaintiff adopts and re-alleges paragraphs 1 through 101 of this complaint as though fully stated
    herein.
103.    As described more fully above. the Defendants commenced, caused to be commenced, and/or
    continued a criminal proceeding against Plaintiff for which Defendants knew there was no probable
    cause, and the criminal proceeding terminated in Plaintiff's favor in a manner indicative of innocence
    as the case was dismissed at the request of the prosecuting anthority.
104.     The Defendants' actions were undertaken intentionally, with malice and reckless indifference
    to the rights of others-specifically. the Plaintiffs.




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105.     The Defendants accused Plaintiff of criminal activity knowing those accusations to be
   without probable cause, and they made written and other statements with the intent of exerting
   influence to institute and continue judicial proceedings.
106.     Statements and reports of the Defendants regarding Plaintiffs alleged criminal culpability
   were made with knowledge that the statements were false.
107.     As a result of the Defendants 'malicious prosecution, Plaintiff has suffered, as a direct and
   proximate cause, injury, including emotional distress.



                                    EIGHTH CASUE OF ACTION:
           STATE LAW CLAIM: AGGRAVATED ASSAULT AND BATTERY

108.     Plaintiff adopts and re-alleges paragraphs 1 through 107 of this complaint as though fully stated
   herein.
109.     As described more fully in the preceding paragraphs, Defendants 'used
   unnecessary and unreasonable force against Plaintiff, which included harmful and offensive ·
   touching.
110.     At that time, Plaintiff had a reasonable apprehension that he was in considerable danger and
    would be subjected to great bodily harm. Additionally, Defendants were presumed to be armed with
    deadly weapons. Plaintiff had a reasonable belief that those deadly weapons would be used against
    him if he did not comply.
111.     The misconduct described in this Count was undertaken with malice, willfulness, and reckless
    indifference to the rights of others---specifically. the Plaintiff.
112.      As described in the preceding paragraphs, the conduct of the
    Defendants, acting under color of law and within the scope of their employment, was
    undertaken willfully and wantonly, proximately causing Plaintiffs injuries.


                     NINTH CAUSE OF ACTION: STATE LAW CLAIM:
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

113.     Plaintiff adopts and re-alleges paragraphs 1 through 112 of this complaint as though fully stated
    herein.


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114.     In the manner described more fully above, the Defendants engaged in extreme and outrageous
   conduct, including, but not limited to:
         1. Putting him in extremely tight handcuffs that were not properly locked so that they continually
              got tighter and caused more and more pain and discomfort;
         2. 1brew Plaintiff to the ground causing injuries to his arms, legs, elbows, and knees;
         3. Refused Plaintiff's request to exercise his right to speak with his attorney;
         4. Held Plaintiff in custody for more than an hour, without presenting him to a magistrate, while
              laughing at his expense at how Plaintiff was "flopping around like a fish."
115.     The Defendants intended that their conduct would cause severe emotional distress to the Plaintiff
   and knew that there was a high probability that their conduct would cause severe emotional distress to
   the Plaintiff.
116.     The misconduct described in this count was undertaken with malice, willfulness, and reckless
   indifference to the rights of others.
117.     As a proximate result of this misconduct, Plaintiff suffered injuries, including but not limited
   to severe emotional distress.
                                     TENTH CAUSE OF ACTION:
                        STATE LAW CLAIM: RESPONDEAT SUPERIOR

118.      Plaintiff adopts and re-alleges paragraphs 1 through 117 of this complaint as though fully stated

    herein.

119.      In committing the acts alleged in the preceding paragraphs, the Defendants were acting as

    members and agents of the UTAH HIGHWAY PATROL acting at all relevant times within the scope

    of their employment.

120.      Defendant UTAH HIGHWAY PATROL is liable as principal for all torts commi~ by its agents

    when acting as its agent.

                                  ELEVENTH CAUSE OF ACTION:
                            STATE LAW CLAIM: INDEMNIFICATION
121.      Plaintiff adopts and re-alleges paragraphs l through 120 of this complaint as though fully stated

    herein.


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122.    Utah law provides that public entities are directed to pay any tort

   judgment for compensatory damages for which employees are liable within the scope of their

   employment activities.

123.    The Defendants are employees of the UTAH HIGHWAY PATROL, and

   who acted within the scope of their employment in committing the misconduct described

   herein.




WHEREFORE, Plaintiff, MIKEL RAY BROWN, respectfully requests that this Court enter judgment in

his favor against Defendants, DARRELL GRIGGS, SEfH DALTON, GREG HOLLEY, WADE

BREUR, ROGER DANIELS, ERNEST PETERSON, and the UTAH HIGHWAY PATROL, awarding

compensatory damages and fees, along with punitive damages against the DEFENDANTS in their

individual capacity, as well as any other relief this Court deems just and appropriate.




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                                                 JURYDEMAND
Plaintiff, MIKEL RAY BROWN, hereby demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) as well as pursuant to the seventh amendment to the United State Constitution on all

issues so triable.


RESPECTFULLY SUBMIITED THIS _ _ _ Day of July. 2022




                                                              Mikel Ray Brown




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Mikel Ray Brown
2942 Foss Circle
Bountiful, UT 84010
Email: mikebrown@reagan.com




          IN THE UNITED STATES DISTRICT
                                               COURT
                         FOR THE DISTRICT OF UTAH



 MIKEL KAY BKOWN,
                                                               AFFIDAVIT IN SUPPORT OF
      Plaintiff,                                                   VERIFIED COMPLAINT
        v.
                                                                     AND PETITION FOR
                                                              DECLARATORY JUDGEMENT
 DAKltELL GRIGGS,
 SETH DALTON, GREG HOLLEY,
 WADE BREUR, KOGEKDANIELS,
 ERNEST PETERSON, and                                            Case No: _ _ _ _ _ _ _ __
 UTAH HIGHWAY PATROL, a Corporation,

      Defendants.                                                   JURY TRIAL DEMANDED




        L Mikel Ray Brown, am the named Plaintiff above and state and swear before God. under penalty
of perjury, under the laws of the United States, that the following is true and correct to the best of my

knowledge:

1. I am over the age of 18 and am competent to testify before this court

2. I am the Plaintiff in the abovee-entitled action and I am fami1far with the files, records and pleadings in

    this matter.

3. The facts set forth in this complaint are true and correct to the best of my knowledge.


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RESPECTFUILY SUBMffl'ED TIIlS _K_ day of July, 2022.




Sworn to and subscribed before me this      l2__ day of :S:--1 V   .2022.


Notary Public
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                               5 ... 2-L\ ... 7._oZ.:S-
My Commission Expires: _ _ _ _ _ __



(I          DAN BADDLEY
       NOTARY PUBUC • STATE OF UTAH
       COMMISSION NO. 718317
        COMM. EXP. 5•24-2025




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